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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                      September 26, 2023


  Ms. Casandra Craven
  Longhorn Limited Liability Company
  109 East 17th Street, Suite 11
  Cheyenne, WY 82001

  Mr. John G. Knepper
  Law Office of John G. Knepper, LLC
  P.O. Box 1512
  Cheyenne, WY 82003

  RE:       23-8065, Westenbroek, et al v. Kappa Kappa Gamma, et al
            Dist/Ag docket: 2:23-CV-00051-ABJ

 Dear Counsel:

 Your appeal has been docketed, and the appeal number is above.

 Within 14 days from the date of this letter, Appellant’s counsel must electronically file:

     x   An entry of appearance and certificate of interested parties per 10th Cir. R.
         46.1(A) and (D).
     x   A docketing statement per 10th Cir. R. 3.4.
     x   A transcript order form or notice that no transcript is necessary per 10th Cir.
         R. 10.2. This form must be filed in both the district court and this court.
     x   Also within 14 days, Appellant must pay the $505.00 filing and docketing fees
         ($5.00 filing fee and $500.00 docket fee) in the district court. Fed. R. App. P. 3(e)
         and 10th Cir. R. 3.3(B).

 In addition, all counselled entities that are required to file a Federal Rule of Appellate
 Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
 All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
 26.1 for applicable disclosure requirements. All parties required to file a disclosure
 statement must do so even if there is nothing to disclose. Rule 26.1 disclosure statements
 must be promptly updated as necessary to keep them current.
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Appellate Case: 23-8065     Document: 010110926916        Date Filed: 09/26/2023     Page: 2
 Also within 14 days, Appellee’s counsel must electronically file an entry of appearance
 and certificate of interested parties. Attorneys that do not enter an appearance within
 the specified time frame will be removed from the service list.

 The Federal Rules of Appellate Procedure, the Tenth Circuit Rules, and forms for the
 aforementioned filings are on the court’s website. The Clerk’s Office has also created a
 set of quick reference guides and checklists that highlight procedural requirements for
 appeals filed in this court.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Rachel Berkness
           Brian W. Dressel
           Scott P. Klosterman
           Natalie Marie Mclaughlin



  CMW/lg




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